Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16        PageID.220   Page 1 of 25




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 DEMAR PARKER,

                Plaintiff,
                                                   Case No: 16-cv-13036-GAD-SDD
 vs.                                               Hon. Gershwin A. Drain
                                                   Mag. Stephanie Dawkins Davis
 CITY OF DETROIT;
 DETROIT POLICE DEPARTMENT, a
 municipal law enforcement agency;
 CHRISTOPHER TOWNSEND,
 individually and in his official capacity as
 police officer for the Detroit Police
 Department; JOHN DOE, individually and
 in his official capacity as police officer for
 the Detroit Police Department; JOHN
 ROE, individually and in his official
 capacity as police officer for the Detroit
 Police Department,

       Jointly and severally,
                 Defendants.

 SALVATORE PRESCOTT &                             CITY OF DETROIT LAW DEPT.
 PORTER, PLLC                                     Gregory B. Paddison (P75963)
 Sarah S. Prescott (P70510)                       Attorney for Defendant
 Attorneys for Plaintiff                          2 Woodward Ave., Ste. 500
 105 East Main Street                             Detroit, MI 48226
 Northville, MI 48167                             (313) 237-0435
 (248) 679-8711                                   paddisong@detroitmi.gov
 prescott@spplawyers.com


                  PLAINTIFF’S BRIEF IN OPPOSITION TO
               DEFENDANTS’ AMENDED MOTION TO DISMISS
                       IN LIEU OF AN ANSWER
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16   PageID.221   Page 2 of 25



                           TABLE OF CONTENTS

CONTROLLING AUTHORITY………………………………………..……..….iii

STATEMENT OF DISPUTED ISSUES PRESENTED…..……………….……...v

OVERVIEW..…………………………………………………..…………………...1

MATERIAL FACTS…………………………………………..……………….…...2

ARGUMENT……..……………………………...………………………………….6

   I.     Plaintiff Pleads the Police Officers Acted Under Color of Law………...5

   II.    Plaintiff Pleads Municipal Liability……..……………….…………..…10

          A. Plaintiff States a Claim Based on Failure to Train…………….…..12

          B. Plaintiff States a Claim Based on Decision-makers’ Conduct…….15

   III.   The Court Properly Exercises Supplemental Jurisdiction………….....16

   IV.    Plaintiff Alternatively Seeks Leave to Amend…………….…..………..19

CONCLUSION……….………………………………………………………...…20




                                      ii
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16   PageID.222   Page 3 of 25



                       CONTROLLING AUTHORITY
Cases

Ashcroft v. Iqbal,
      556 U.S. 662, 678, 129 S.Ct. 1937 (2009)………….……...……..……6, 11, 14

Bell Atl. Corp. v. Twombly,
       550 U.S. 544, 555, 127, S.Ct. 1955 (2007)………….………...….……6, 10, 14

Birgs v. City of Memphis,
       626 F.Supp.2d 776, 778-779 (W.D. Tenn. 2010)….………….……….…..…16

Conley v. Gibson,
      355 U.S. 41, 47, 78 S.Ct. 99 (1957)……...……………………………...…6, 10

Dennis v. Sparks,
      449 U.S. 24, 27-28, 101 S. Ct. 183 (1980)………….……………….……....7-8

Feliciano v. City of Cleveland,
       988 F.2d 649, 656 (6th Cir. 1993)……….………….………………..….……15

Hudson v. Maxey,
     856 F. Supp. 1223 (E.D. Mich. 1994)……………….………………..…...9, 10

Javid v. Scott,
       913 F. Supp. 223, 229 (S.D.N.Y. 1996)…………….……………….…….…17

Layne v. Sampley,
      627 F.2d 12 (6th Cir. 1980)……………….………….………………..….…8, 9

Leatherman v. Tarrant Cty Narcotics Intelligence and Coordination Unit,
      507 U.S. 163, 168, 113 S.Ct. 1160 (1993)………….……………….….….…10

Memphis, Tennessee Area Local Postal Workers Union, AFL-CIO v. City of
    Memphis, 361 F.3d 898, 903 (6th Cir. 2004)………….……….……….....……7

Plinton v. Cty of Summit,
      540 F.3d 459, 464 (6th Cir. 2008)………………….……………….….….…14


                                     iii
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16   PageID.223   Page 4 of 25



Potochney v. Doe,
      No. 02 C 1484, 2002 WL 31628214 (N.D. Ill. Nov. 21, 2002)…….….……14

Rolen v. City of Cleveland,
      No. 1:12 CV 1914, 2013 WL 12145960 (N.D. Ohio Aug. 7, 2013)….....13, 14

Stengel v. Belcher,
      522 F.2d 438, 440-441 (6th Cir. 1975)……..……….……………….…..…6, 8

Thiel v. Baby Matters, LLC,
       No. 11-15112, 2013 WL 5913394 (E.D. Mich. Oct. 31, 2013)……….….…19

Thomas v. City of Chattanooga,
     398 F.3d 426, 429 (6th Cir. 2005)……………….………………....…12-13, 15

Rules

Fed. R. Civ. P. 8…………………………………………………………..…….6, 10

Fed. R. Civ. P. 15………….…………………………………………….....…...1, 19

Other Authorities

42 U.S.C. § 1983………………………………………………….….4, 8, 12, 13, 16

28 U.S.C. § 1367(a)……………………………………………….……………....16




                                      iv
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16        PageID.224    Page 5 of 25



             STATEMENT OF DISPUTED ISSUES PRESENTED

      Defendants Detroit Police Department and City of Detroit raise the following

disputed issues:

      1. Whether Plaintiff adequately pleaded that the individual Defendants acted

under the color of law?

      Plaintiff answers, “Yes.”
      Defendants City of Detroit and Detroit Police Department answer, “No.”

      2. Whether Plaintiff pleads facts sufficient to support a claim against the City

of Detroit under § 1983?

      Plaintiff answers, “Yes.”
      Defendants City of Detroit and Detroit Police Department answer, “No.”

      3. Whether the Court should exercise supplemental jurisdiction over

Plaintiff’s state tort claims?

      Plaintiff answers, “Yes.”
      Defendants Detroit Police Department and City of Detroit answer, “No.”

      4. Whether the Court should grant leave to amend if it finds that the current

complaint fails to state a claim?

      Plaintiff answers, “Yes.”
      Defendants Detroit Police Department and City of Detroit presumably
      answer, “No.”




                                          v
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16             PageID.225     Page 6 of 25



                                      OVERVIEW

       Detroit police officer Jerold Blanding [Defendant Roe] riddled Plaintiff’s car

with more than a dozen bullets as Plaintiff fled for his life, striking Plaintiff and

coming within inches of killing him.1 (Ex. A, Complaint, ¶¶ 38-42). Plaintiff Demar

Parker now sues the City of Detroit and the involved police officers for excessive

use of deadly force in violation of the Fourth and Fourteenth Amendments,

intentional infliction of emotional distress, and assault and battery. 2 (Ex. A,

Complaint). Defendants move to dismiss Plaintiff’s claims. The Court should deny

the motion. Plaintiff states a claim and establishes both color of law and municipal

liability. In the alternative, pursuant to Fed. R. Civ. P. 15, Plaintiff asks the Court

for leave to file the proposed Second Amended Complaint,3 attached as Exhibit B.




1
  It is unknown whether the other police Defendants also fired shots at Plaintiff’s car.
2
  Plaintiff relies in this response on the original complaint filed. As of this drafting, the
parties have stipulated to an amendment that identifies Doe (Officer Marcus Ways) and
Roe (Officer Jerold Blanding) and dismisses the Detroit Police Department, but does not
otherwise substantively change the allegations. The stipulation and First Amended
Complaint reflecting the Defendants’ identity has been filed, but as of December 8, 2016,
the Court had not signed the order.
3
  On August 22, 2016, Plaintiff filed his original Complaint. (Dckt No. 1, PageID 1).
Plaintiff did not know two of the police Defendants’ names so he sued them
pseudonymously as Defendants “John Doe” and “John Roe.” After learning their identities,
the parties stipulated to a First Amended Complaint identifying by name Defendants Roe
and Doe and dismissing the Detroit Police Department. On December 7, 2016, the parties
filed the stipulation and First Amended Complaint, but as of this drafting, the Court has
not yet entered it. In anticipation that the Court will enter the First Amended Complaint
prior to consideration of this response, Plaintiff identifies the attached complaint as the
Second Amended Complaint.
                                             1
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16            PageID.226    Page 7 of 25



                                 MATERIAL FACTS

       On the evening of August 14, 2015, Plaintiff arrived at his ex-girlfriend’s

home in Detroit, at which Plaintiff’s child resided. (Ex. A, Original Complaint, ¶14).

Upon approaching the home, Plaintiff observed through a window his then four-

year-old daughter being held by an approximately ten-year-old boy as the boy

simulated sex on Plaintiff’s daughter. (Id. at ¶15). The boy’s mother is Plaintiff’s ex-

girlfriend; the boy’s father is Defendant Christopher Townson, a Detroit police

officer.4 (Id. at ¶16).

       Witnessing the boy assault his young daughter upset Plaintiff. (Ex. A,

Complaint, ¶17). Plaintiff and his ex-girlfriend argued through the door as Plaintiff

pleaded with his ex-girlfriend to separate the children and allow him to enter. (Id. at

¶¶17-18). Plaintiff’s ex-girlfriend refused Plaintiff entry. (Id. at 17). To get help,

Plaintiff called his mother and contacted the ex-girlfriend’s father (the child’s

grandfather), hoping that, if his ex-girlfriend would not allow him into the home, she

would allow someone that she trusted to enter. (Id. at ¶¶19-20). Eventually, the

child’s grandfather arrived. (Id. at ¶21). Upon his arrival, Plaintiff stepped well back




4
  Defendant Christopher Townson’s last name is incorrectly stated “Townsend” in the
original complaint. The error is corrected in the First Amended Complaint. Except where
quoting the original Complaint, Defendant Townson is referred to herein by his correct last
name.
                                            2
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16          PageID.227     Page 8 of 25



from the home so that the grandfather could enter without his ex-wife fearing that

Plaintiff would rush into the home. (Id. at 22).

      At some point, Plaintiff’s ex-girlfriend summoned the boy’s father, Detroit

police officer Defendant Townson. (Ex. A, Complaint, ¶23). Upon information and

belief, the ex-girlfriend also summoned the Detroit Police Department. (Id.). Shortly

after 11:00 p.m., Defendant Townson arrived. (Id. at ¶24). Plaintiff, who was

unarmed, was outside the residence. (Id. at ¶27). Upon arrival, Officer Townson

approached Plaintiff aggressively, flashed his service weapon at Plaintiff, and asked

Plaintiff questions such as, “What’s your problem with my son?” (Id. at ¶¶28-29).

Shortly thereafter, two other armed Detroit police officers, Marcus Ways (Defendant

Doe) and Jerold Blanding (Defendant Roe), arrived. (Id. at ¶¶30). As the three police

officers closed in on Plaintiff, Plaintiff, fearing they were going to harm him, evaded

the officers and stepped into the bright street lights to remain visible to witnesses.

(Id. at ¶¶32-33). Plaintiff then ran to his vehicle and pulled away. (Id. at ¶¶34-35).

      Fearing for his safety, Plaintiff fled the scene but was travelling in the opposite

direction of his home. (Ex. A, Complaint, ¶36). Rather than execute a three-point

turn in front of the officers, Plaintiff drove for several blocks, clear of the officers’

immediate ability to harm him, and then turned around. (Id. at ¶36). As Plaintiff

proceeded back down the street toward his home, Officer Ways stepped into the

middle of the street with his service weapon drawn. (Id. at ¶37). Officer Blanding,

                                           3
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16            PageID.228   Page 9 of 25



who was standing on the driver’s side of the street, raised his firearm. (Id. at ¶38).

As Plaintiff drove past, Officer Blanding deployed deadly force and fired repeatedly

at Plaintiff’s car. (Id. at ¶39). It is unknown whether Officers Ways or Townson

discharged their weapons. More than 15 bullets struck Plaintiff’s car, including one

shot that entered directly through the driver’s side window of Plaintiff’s car. (Id. at

¶¶40-41). Plaintiff tried to duck down to evade the shots. (Id. at ¶39). However, the

shots, which were aimed at and intended to kill Plaintiff, struck their target, and

Plaintiff was shot in the leg. (Id. at ¶¶41-42). Miraculously, Plaintiff survived the

assault. (Id. at ¶46). Once Plaintiff was safe, he pulled over and called for help. (Id.

at ¶44).

      Neither Blanding nor any of the involved officers possessed justification to

use deadly force. Plaintiff was not charged with any illegal conduct, he was lawfully

standing on a sidewalk when the police officers arrived. (Ex. A, Complaint, ¶45).

Plaintiff was unarmed and possessed no contraband, and his only intent was to stop

an assault on his child. (Id.). Yet, three Detroit police officers intimidated Plaintiff

and brandished their weapons, at least one of which unleashed a hail of bullets

intended to kill Plaintiff in an unjustified use of deadly force. (Id. at ¶¶37-42, 44-

47). Plaintiff now seeks recourse under 42 U.S.C. §1983 and state tort law for assault

and battery and intentional infliction of emotional distress.




                                           4
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16          PageID.229    Page 10 of 25



                                    ARGUMENT

 I.    Plaintiff Pleads the Police Officers Acted Under Color of Law

       Plaintiff properly pleads that the police Defendants acted under color of law.

 The Complaint alleges:

       “Police Officers Christopher Townsend [sic], Roe [Jerold Blanding] and Doe
       [Marcus Ways] are employed by Defendant City of Detroit …” (Ex. A,
       Complaint, ¶8);

       “All three individuals were agents acting in the course of their employment
       by Defendant Detroit Police Department at all times in question.” (Id. at ¶10);

       During the dispute, “on information and belief, the mother of the child,
       Plaintiff’s ex-girlfriend, summoned Defendant Detroit Police Department
       and in particular, Defendant Townsend [sic], to her home as well.” (Id. at ¶23);

       Defendant Townsend flashed his service weapon visible at Plaintiff in an
       overt threat of violence. (Id. at ¶29).

       “In short order Defendants Doe [Marcus Ways] and Roe [Jerold Blanding]
       arrived on the scene, also armed.” (Id. at ¶30);

       “[A]s Plaintiff returned down [the street] … Defendant Doe [Marcus Ways]
       stepped into the middle of the street … with his service weapon drawn.” (Id.
       at ¶37);

       “As Plaintiff drove, Defendant Roe [Jerold Blanding] deployed deadly force,
       firing his handgun wildly and repeatedly at Plaintiff’s car.” (Id. at ¶39);

       “The acts of the police Defendants complained of were under color of state
       law and undertaken in concert among the named police Defendants.” (Id. at
       ¶49);

       Subject to a liberal pleading standard, Plaintiff’s burden to state a claim is not

 an onerous one. It requires only “‘a short and plain statement of the claim showing

                                           5
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16            PageID.230     Page 11 of 25



 that the pleader is entitled to relief’ in order to ‘give the defendant fair notice of what

 the … claim is and the grounds upon which it rests.’” Bell Atl. Corp. v. Twombly,

 550 U.S. 544, 555, 127 S.Ct. 1955 (2007) (alteration in original) (quoting Conley v.

 Gibson, 355 U.S. 41, 47, 78 S.Ct. 99 (1957)); Fed. R. Civ. P. 8(a). Here, Plaintiff

 satisfies this standard, pleading indicia of state action from which the court can

 reasonably conclude the police Defendants acted under color of law.

       As an initial matter, the Court can reasonably infer that the police Defendants

 were not off-duty when they responded, but rather were dispatched to the scene after

 Plaintiff’s ex-girlfriend summoned the Detroit Police Department. (Ex. A,

 Complaint, ¶¶23). Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937 (2009) (citing

 Twombly, 550 U.S. at 556) (“A claim has facial plausibility when the plaintiff pleads

 factual content that allows the court to draw the reasonable inference that the

 defendant is liable for the misconduct alleged.”). Facts may be developed in

 discovery showing that the police Defendants were definitively acting in the course

 of their employment in responding to the dispute.

       Second, even if the officers were off-duty, “[t]he fact that a police officer is

 on or off duty, or in or out of uniform is not controlling.” See Stengel v. Belcher,

 522 F.2d 438, 441 (6th Cir. 1975). Even an off-duty police officer’s possession and

 use of a service weapon is indicia of state action. Id. (considering in a “color of law”

 analysis that an off-duty police officer used police-issued mace during an assault and

                                             6
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16          PageID.231     Page 12 of 25



 that the officer carried a police-issued pistol pursuant to department regulations).

 Here, DPD police officers, acting in concert with one another and as DPD agents,

 brandished their service weapons and at least one of those police officers used it to

 shoot Plaintiff. (Id. at ¶¶10, 37-39, 49).

       Third, a police officer’s intervention in a third-party dispute pursuant to

 department regulations is indicia of state action. See Memphis, Tennessee Area

 Local, American Postal Workers Union, AFL-CIO v. City of Memphis, 361 F.3d 898,

 903 (6th Cir. 2004) (identifying “intervening in a dispute between third parties

 pursuant to a duty imposed by police department regulations” as a manifestation of

 official authority). In this case, upon information and belief, Plaintiff’s ex-girlfriend

 summoned the Detroit Police Department. (Ex. A, Complaint, ¶23). In addition to

 Officer Townson, Officers Ways and Blanding arrived and intervened in the dispute.

 (Id. at ¶30). The dispute in which Ways and Blanding intervened was between

 Plaintiff and his ex-girlfriend; thus, Officers Ways and Blanding had no personal

 involvement in the matter. (Id. at ¶¶16, 18). It is, therefore, reasonable to infer that

 Officers Ways and Blanding intervened in a third-party dispute pursuant to DPD

 regulations.

       Finally, as held by the U.S. Supreme Court, “Private persons, jointly engaged

 with state officials in the challenged action, are acting ‘under color’ of law for

 purposes of § 1983 actions.” Dennis v. Sparks, 449 U.S. 24, 27-28, 101 S. Ct. 183

                                              7
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16         PageID.232    Page 13 of 25



 (1980). In this case, even if the Court determines that Officer Townson acted as a

 private party in responding to the dispute between Plaintiff and his ex-girlfriend

 regarding Townson’s son, Officer Townson’s concerted action with DPD officers

 Ways and Blanding to intimidate, assault and use deadly force against Plaintiff

 indicates state action. (Ex. A, Complaint, ¶49).

       In sum, Plaintiff pleads the “color of law” element. Consistent with Sixth

 Circuit authority the Court should deny the motion to dismiss. In Stengel v. Belcher,

 the Sixth Circuit Court of Appeals considered the question whether there was

 sufficient evidence to support a jury’s finding that an off-duty police officer who

 intervened in a third-party dispute and shot several persons was acting under color

 of state law. 522 F.2d 438 (1975). Finding that the evidence supported the jury’s

 verdict, the Court considered, among other things, that the police officer used police-

 issued mace, carried his gun pursuant to police department regulations, and

 intervened in a dispute pursuant to a police duty. Id. at 441. The Court upheld the

 jury’s color-of-law finding even though the officer was out of uniform, off-duty, and

 never identified himself as a police officer. Id. at 440-441.

       In Layne v. Sampley, the Sixth Circuit Court of Appeals considered Plaintiff’s

 appeal of a judgment notwithstanding the verdict in which the district court found

 insufficient evidence to support a finding that an off-duty police officer was acting

 under the color of state law in a § 1983 action. 627 F.2d 12 (6 th Cir. 1980). In

                                            8
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16             PageID.233     Page 14 of 25



 reversing the district court, the Sixth Circuit relied in part on the facts that the officer

 had authority to carry the weapon by virtue of his status as a police officer and that

 plaintiff saw the officer with the weapon in the company of other police officers. Id.

 at *13.

        As in the Layne and Stengel cases, Plaintiff here pleads indicia of state action.

 The police Defendants had service weapons which a jury could reasonably infer they

 had the authority to possess because they were police officers. (Ex. A, Complaint,

 ¶¶29, 37). In addition, Plaintiff encountered Officer Townson armed and in the

 company of other police officers (namely, Blanding and Ways), and Officers

 Blanding and Ways intervened in a third-party dispute after the DPD was summoned

 by Plaintiff’s ex-girlfriend. (Id. at ¶¶23, 30).

        Defendants cite to Hudson v. Maxey, 856 F. Supp. 1223 (E.D. Mich. 1994),

 in support of their argument that there was no state action in this case. The Hudson

 case is factually distinguishable. In Hudson, an off-duty police officer confronted

 and killed a woman’s ex-boyfriend after the boyfriend broke into the home at which

 the police officer was staying and assaulted the woman. The Hudson defendant was

 the only police officer involved. In this case, there were three involved police

 officers, acting in concert with one another, two of whom had no personal stake in

 the argument between Plaintiff and his ex-girlfriend. No such facts existed in the

 Hudson case. Furthermore, even if Defendants can show by analogy to Hudson that

                                              9
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16           PageID.234     Page 15 of 25



 Defendant Townson’s conduct was private in nature because the dispute involved

 his son, neither Hudson nor the Defendants address the intervention of the other two

 police officers who lacked a personal interest in the dispute and may have been

 dispatched to the scene after the DPD was summoned. Their intervention evidences

 state action.

       Plaintiff pleads the color of law element. The Court should deny the motion

 to dismiss.

 II.   Plaintiff Pleads Municipal Liability

       Plaintiff pleads the City of Detroit’s liability. It is settled law that a municipal

 liability claim is subject to Rule 8’s liberal pleading standard; the Court may not

 require heightened pleading. See Leatherman v. Tarrant Cty Narcotics Intelligence

 and Coordination Unit, 507 U.S. 163, 168, 113 S.Ct. 1160 (1993) (holding that a

 federal court may not apply a heightened pleading standard to civil rights cases

 alleging municipal liability). Rule 8 does “not require a claimant to set out in detail

 the facts upon which he bases his claim. To the contrary, all the Rules require is a

 ‘short and plain statement of the claim’ that will give the defendant fair notice of

 what the plaintiff’s claim is and the grounds upon which it rests.” Leatherman, 507

 U.S. at 168, quoting Conley v. Gibson, 355 U.S. 41, 78 S.Ct. 99 (1957). While

 Plaintiff must do more than state conclusions or a formulaic recitation of the

 elements, neither Rule 8 nor Twombly and its progeny require detailed factual

                                            10
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16        PageID.235    Page 16 of 25



 allegations. Ashcroft, 556 U.S. at 678 (“[T]he pleading standard Rule 8 announces

 does not require ‘detailed factual allegations’ …”).

       Here, Plaintiff properly pleads the City’s liability. The Complaint states:

       “Academic study indicates that African-American men account for 40 percent
       of the unarmed people fatally shot by police. This makes African-American
       men seven times as likely as unarmed white men to die from police gunfire.”
       (Ex. A, Complaint, ¶1);

       “Police violence of this sort has been recently decried in our Supreme Court
       as reflecting a “shoot first, think later” mentality.” (Id. at ¶2);

       “In an incident of August 2015, Plaintiff was shot and came within inches of
       being killed, the latest victim of unlawful use of police force.” (Id. at ¶4);

       “… Plaintiff had no weapon.” (Id. at ¶27);

       “As Plaintiff drove, Defendant Roe [Jerold Blanding] deployed deadly force,
       firing his handgun wildly and repeatedly at Plaintiff’s car,” (Id. at ¶39);

       “Plaintiff was shot in the leg.” (Id. at ¶42).

       “The acts of the individual police Defendants alleged in this Complaint
       represent official policy and custom of and are attributable to the Defendant
       City of Detroit and the Defendant Police Department for which such
       individuals worked.” (Id. at ¶48);

       “On information and belief, supervisory officials having final policymaking
       authority for the Defendant Police Department had knowledge of the conduct
       complained of.” (Id. at ¶50);

       “With regard to the constitutional deprivations alleged below, it would have
       been plainly obvious to a reasonable official and/or policymaker that the
       conduct described did deprive or would lead to deprivations of Plaintiff’s
       constitutional rights.” (Id. at ¶51);




                                           11
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16           PageID.236     Page 17 of 25



       “Upon information and belief, supervisory officials having final policymaking
       authority for the Defendant Police Department nevertheless agreed to,
       approved, and/or ratified the unconstitutional conduct alleged.” (Id. at ¶52);

       “Upon information and belief, the Defendant Police Department, by and
       through its supervisory officials having final policymaking authority, further
       failed to train. This failure to train led directly to the constitutional
       deprivations alleged below.” (Id. at ¶53);

       “Upon information and belief, the Defendant Police Department also failed to
       intervene in a custom of its employees violating individuals’ constitutional
       rights. This failure led directly to the constitutional deprivations alleged
       below.” (Id. at ¶54).

       “Defendants promulgated and/or carried out the acts and omissions, official
       policies, orders and directives described above intentionally and deliberately,
       with wanton and reckless disregard and deliberate indifference for the civil
       and constitutional rights, privileges and sensibilities of Plaintiff.” (Id. at ¶60);

       “As a direct and foreseeable consequence of Defendants’ acts, omissions,
       policy decisions, failure to train, and failure to intervene in a custom of
       violating individuals’ constitutional rights, Plaintiff was deprived of his rights
       under the Fourth and Fourteenth Amendments to the United States
       Constitution and thereby suffered physical and emotional injury.” (Id. at ¶61).

       “Plaintiff’s emotional experience of the shooting was haunting – particularly
       for an African-American male already living with routine national coverage
       of unlawful uses of force up to and including choke holds, unprovoked
       shootings, and other violent, deadly conduct toward his protected class.” (Id.
       at ¶47).

       The Complaint pleads municipal liability.

       A.    Plaintiff States a Claim Based on Failure to Train

       The inadequacy of police training may serve as the basis for § 1983 liability

 where the failure amounts to deliberate indifference to the rights of persons with

 whom the police come into contact. Thomas v. City of Chattanooga, 398 F.3d 426,
                                            12
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16          PageID.237    Page 18 of 25



 429 (6th Cir. 2005) (identifying a policy of inadequate training or supervision as an

 avenue through which a plaintiff can establish municipal liability). Plaintiff pleads

 this theory.

       In Rolen v. City of Cleveland, two police officers, one on-duty and the other

 off-duty, assaulted and killed a citizen suspected of stealing from the off-duty

 officer’s home. No. 1:12 CV 1914, 2013 WL 12145960 (N.D. Ohio Aug. 7, 2013),

 Ex. C. On consideration whether to dismiss Plaintiff’s § 1983 excessive force

 complaint for failure to state a claim, the Court concluded that the plaintiffs properly

 pleaded failure to train on the allegations that defendants’ actions were due to either

 “a policy of inadequate training … or a custom of tolerance or acquiescence of

 federal rights violations.”. Id. at *4. The Court reasoned, “Plaintiffs have alleged in

 detail the constitutional violations committed by City employees … and have clearly

 stated in their Complaint that these violations were caused by Defendant City of

 Cleveland’s failure to adequately train its police officers in the application of

 probable cause to make arrests or the use of deadly force.” Id. at *4. The Rolen Court

 also observed the quandary in which plaintiffs attempting to establish municipal

 liability often find themselves – that is, attempting to state a claim without access to

 relevant information:

       To properly plead a Monell claim, a plaintiff needs to point to a municipality’s
       existing policy or lack thereof, or compile instances of similar events to the
       ones forming the basis for the claim. More often than not, this information
       will be very difficult for a plaintiff to find without discovery. Though
                                           13
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16            PageID.238     Page 19 of 25



       Twombly and Iqbal did not heighten pleading requirements … the court, as
       other district courts have noted, is concerned that plaintiffs will find it difficult
       to make allegations rising to the level of plausibility without discovery, which
       possibly could turn away many meritorious claims. [Id. at *4 (internal
       citations omitted)].

 See also Potochney v. Doe, No. 02 C 1484, 2002 WL 31628214, *3, (N.D. Ill. Nov.

 21, 2002), Ex. D, determining that “The court will not dismiss [the plaintiffs’] failure

 to train claim against the Sheriff’s Department inasmuch as plaintiffs do not have

 access to information that would allow them to plead that the failure to train applied

 to multiple employees.”

       As in Rolen, Plaintiff in this case detailed the constitutional violations

 committed by DPD’s employees and clearly stated that the violations were directly

 caused by the DPD’s failure to train. (Ex. A, Complaint, ¶¶48, 53). Furthermore,

 Plaintiff rightfully relies on the single constitutional violation detailed in his

 Complaint because Plaintiff’s express allegations and the resulting reasonable

 inferences establish a national recurrence of unlawful and unprovoked police

 shootings of unarmed black men that presented an obvious need for police training,

 which the DPD failed to adequately provide. (Ex. A, Complaint, ¶¶ 1-2, 4, 47, 53).

 As the Sixth Circuit observed, “[A] single violation of federal rights, accompanied

 by a showing that a municipality has failed to train its employees to handle recurring

 situations presenting an obvious potential for such a violation, could trigger

 municipal liability.” Plinton v. Cty of Summit, 540 F.3d 459, 464 (6th Cir. 2008).

                                            14
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16        PageID.239    Page 20 of 25



        B.     Plaintiff States a Claim Based on Decision-makers’ Conduct

        Actions taken by officials with final decision-making authority establish

 municipal liability. Thomas, 398 F.3d at 429. “[I]f the authorized policymakers

 approve a subordinate’s decision and the basis for it, their ratification would be

 chargeable to the municipality because their decision is final.” Feliciano v. City of

 Cleveland, 988 F.2d 649, 656 (6th Cir. 1993). Plaintiff properly pleads ratification.

 Taken as true, Plaintiff’s Complaint establishes that Plaintiff’s ex-girlfriend

 summoned the Detroit Police Department; that the DPD’s supervisory officials with

 final policymaking authority had knowledge of the use of deadly force; that Plaintiff

 was not engaged in any action that would provoke or justify the use of deadly force;

 that it was obvious to DPD officials that the officers violated Plaintiff’s

 constitutional rights to be free of unlawful excessive force; that the DPD supervisory

 officials agreed to, approved and/or ratified the unlawful use of deadly force; that

 the officials failed to intervene; and that the City continues to employ the police

 officers. (Ex. A, Complaint, ¶¶8, 23, 45, 50-52, 54). These facts, considered

 collectively, establish ratification.

        In sum, Plaintiff states a claim for municipal liability. Defendants’ motion

 should be denied.




                                          15
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16          PageID.240     Page 21 of 25



 III.   The Court Properly Exercises Supplemental Jurisdiction

        “[I]n any civil action of which the district courts shall have original

 jurisdiction, the district courts shall have supplemental jurisdiction over all other

 claims that are so related to claims in the action within original jurisdiction that they

 form part of the same case or controversy…” 28 U.S.C. § 1367(a). Here, the Court

 properly exercises supplemental jurisdiction.

        Defendants wrongly assert that Plaintiff’s state tort claims “predominate” over

 Plaintiff’s constitutional claims. This case at its core is about the Defendants’

 deprivation of Plaintiff’s constitutional rights to be free of excessive use of police

 force, guaranteed under the Fourth and Fourteenth Amendments. Plaintiff’s state law

 claims arise from the same acts and omissions that comprise Defendants’

 constitutional violations. This is precisely the circumstance in which a court should

 exercise supplemental jurisdiction as the claims are so related that they comprise the

 same case and controversy. 28 U.S.C. § 1367(a).

        In Birgs v. City of Memphis, the district court considered whether to exercise

 supplemental jurisdiction in a § 1983 excessive force case. 686 F.Supp.2d 776 (W.D.

 Tenn. 2010). Plaintiff’s state law claims included, among other things, assault and

 battery and intentional infliction of emotional distress (the same claims Plaintiff in

 this case is asserting). Id. at 778. Finding that supplemental jurisdiction was

 appropriate, the Court observed that “[a]ll of Plaintiff’s claims derive from the same

                                            16
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16          PageID.241    Page 22 of 25



 ‘common nucleus of operative fact’” and reasoned that declining jurisdiction “would

 waste resources of the parties and the state and the federal court.” Id. at 779.

       Similarly, in Javid v. Scott, the district court considered in a § 1983 excessive

 force action whether to retain supplemental jurisdiction over Plaintiff’s state tort

 claims for assault and battery and wrongful death. 913 F. Supp. 223, 229 (S.D.N.Y.

 1996). Observing that “[t]here can be no dispute that plaintiff’s state and federal

 claims against defendant Scott arise out of a common nucleus of operative fact,” the

 judge retained supplemental jurisdiction over the state law tort claims. Id. at 229.

       Likewise, the Court should retain supplemental jurisdiction in this case. There

 is no dispute between the parties that Plaintiff’s federal and state law claims arise

 from the same set of facts. See Defendants’ admission at Dckt No. 10-2, PageID 135

 (stating, “Even where, ashere [sic], the federal and state claims arise out of the same

 factual background …”). Moreover, proceeding with Plaintiff’s state law claims will

 not substantially expand the suit beyond that necessary and relevant to the federal

 claim, whereas requiring Plaintiff to litigate related claims in two separate courts

 will result in the unnecessary duplication of litigation (which Defendants admit), the

 unnecessary expenditure of resources, and the potential for inconsistent factual

 findings. (See Defendants’ admission at Dckt No. 10-2, PageID 137 (stating,

 “[T]here will be some duplication of effort required by Plaintiff and Defendants if

 Plaintiff decides to purse the state claims in state court …”).

                                           17
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16         PageID.242    Page 23 of 25



       Defendants’ argument that exercising supplemental jurisdiction will require

 introduction of inapplicable or inconsistent evidence is unfounded and inconsistent

 with Defendants’ admissions that the federal and state claims arise out of the same

 factual background and separate actions will result in at least some duplicated

 litigation. (Dckt No. 10-2, PageID 135, 137). Defendants offer no explanation why

 a case presenting several legal claims that arise from a singular nucleus of facts will

 require the introduction of “inapplicable or inconsistent” evidence such that the

 Court should decline supplemental jurisdiction.

       Finally, Defendants’ concerns of jury confusion, prolonged pretrial practice,

 complex jury instructions and inconsistent verdicts are red herrings. The jury will

 determine a single set of facts from which it will render verdicts on Plaintiff’s legal

 claims, none of which are complex or novel. Defendants’ concerns are resolved with

 well-crafted jury instructions regarding elements, defenses and available damages,

 which juries routinely receive and apply. In the absence of a showing why the issues

 in this case are so complex or disparate that a jury should be presumed unable to

 decide them without suffering substantial confusion and incapacity to understand

 and apply jury instructions, Defendants’ motion should be denied. In addition,

 Defendants’ argument regarding the differing elements for governmental immunity

 is premature as the police Defendants have not asserted immunity to any claims.




                                           18
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16          PageID.243    Page 24 of 25



 IV.   Plaintiff Alternatively Seeks Leave to Amend

       Plaintiff states a claim and asks the Court to deny Defendants’ motion to

 dismiss. In the alternative, Plaintiff requests leave to file the attached proposed

 Second Amended Complaint. (Ex. B). “The court should freely give leave when

 justice so requires.” Fed. R. Civ. P. 15(a). Here, Plaintiff seeks recourse for a severe

 abuse of police power that resulted in him being shot and nearly killed. Considering

 the national recurrence of controversial police shootings and Detroit’s historical

 pattern and practice of using unlawful excessive and often deadly force (as laid out

 in the Second Amended Complaint), the constitutional deprivations at issue are

 significant to Plaintiff, to the Detroit community, and to the general public.

 Defendants are trying to stop his case before Plaintiff even gets a chance at

 discovery. Justice demands that Plaintiff have an opportunity to amend his

 Complaint if the Court determines that the current complaint is deficient. Notably,

 an amendment will not prejudice Defendants. This case is early in litigation, the

 parties have not started discovery, and the proposed amendment does not assert new

 legal claims. See, e.g., Thiel v. Baby Matters, LLC, No. 11-15112, 2013 WL

 5913394, *4 (E.D. Mich. Oct. 31, 2013) (granting Plaintiffs leave to file a Second

 Amended Complaint, reasoning that Defendants will not be prejudiced), Ex. E.




                                           19
Case 2:16-cv-13036-GAD-SDD ECF No. 14 filed 12/09/16        PageID.244    Page 25 of 25



                                   CONCLUSION

       Plaintiff asks the Court to deny Defendants’ motion to dismiss or, in the

 alternative, to grant Plaintiff leave to file the proposed Second Amended Complaint.



                                             Respectfully submitted,
                                             SALVATORE PRESCOTT &
                                             PORTER, PLLC

                                             /s/ Sarah S. Prescott
                                             Sarah S. Prescott (P70510)
                                             Attorneys for Plaintiff
                                             105 East Main Street
                                             Northville, MI 48167
                                             (248) 679-8711
  Dated: December 9, 2016                    prescott@spplawyers.com




                           CERTIFICATE OF SERVICE

       I hereby certify that on December 9, 2016, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF system which will send

 notification of such filing to counsel of record.

                                         /s/ Tara L. Lank
                                         Tara L. Lank, Legal Secretary




                                           20
